      Case 1:01-cv-12257-PBS Document 3512-19 Filed 12/27/06 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL INDUSTRY                  )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                         )
LITIGATION                                      )    CIVIL ACTION: 01-CV-12257-PBS
                                                )
                                                )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                        )
U.S. ex rel. Ven-A-Care of the Florida Keys,    )    Chief Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc.,              )
No. 06-CV-11337-PBS                             )

        ABBOTT LABORATORIES, INC.’S MOTION TO COMPEL EVIDENCE
         WITHHELD UNDER THE DELIBERATIVE PROCESS PRIVILEGE

       Defendant Abbott Laboratories, Inc. (“Abbott”) respectfully seeks an Order compelling

Plaintiff the United States of America (“United States” or “Government”) to produce to Abbott

all documents that have previously been withheld under the “deliberative process privilege.”

This request includes over 500 responsive documents the Government did not produce in

response to subpoenas issued to the United States Department of Health and Human Services

(“HHS”) and various Medicare carriers in MDL 1456, documents which bear Government-

provided descriptions like “Options for AWP.” The Government’s assertion of fraud-based

claims against Abbott and other manufacturers negates any qualified deliberative process

privilege that might have applied to these documents. Moreover, the Government has failed to

assert the privilege properly, and it has provided no explanation of what harm would result if

documents relating to now-discarded payment methodologies were disclosed in this case.

       In addition, this Court should prohibit the Government from continuing to withhold

evidence and otherwise obstructing ongoing discovery through assertion of the deliberative

process privilege. The Government’s responses to Abbott’s written discovery requests and

notices of deposition indicate that the Government continues, under the guise of the deliberative

process privilege, to prevent discovery of information vitally important to Abbott’s defenses.
     Case 1:01-cv-12257-PBS Document 3512-19 Filed 12/27/06 Page 2 of 3




      The arguments and authority supporting these requests are set out in the accompanying

memorandum. A proposed order is attached.

                           REQUEST FOR ORAL ARGUMENT

      Pursuant to Local Rule 7.1, Abbott hereby requests oral argument on this Motion.



Dated: December 27, 2006                     Respectfully submitted,

                                             /s/ R. Christopher Cook
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                                             2
      Case 1:01-cv-12257-PBS Document 3512-19 Filed 12/27/06 Page 3 of 3




                    CERTIFICATE PURSUANT TO LOCAL RULE 7.1

       I certify that the moving party communicated with counsel for Plaintiffs in an effort to
resolve the dispute referred to in this motion, and that the parties have not been able to reach
agreement with respect thereto.

                                              /s/ R. Christopher Cook
                                              R. Christopher Cook
